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                                            UNITED STATES DISTRICT COURT
                                             DISTRICT OF MASSACHUSETTS


             Ryan Porter ,
                   Plaintiff,
                                                                                     CIVIL ACTION
                   V.
                                                                                     NO. 1:20-cv-11897-RWZ

             Emerson College,
                   Defendants.

                                             REPORT RE: REFERENCE FOR
                                          ALTERNATIVE DISPUTE RESOLUTION

                                                   TO JUDGE Rya Zobel


[ ]       The above entitled case was reported settled after referral to the ADR Program, but prior to ADR.

[X]       On 12/1/2021 and 2/14/2022          I held the following ADR proceeding:

          ______ SCREENING CONFERENCE                    ______EARLY NEUTRAL EVALUATION
            X      MEDIATION                             ______ SUMMARY BENCH / JURY TRIAL
          ______ MINI-TRIAL                                      SETTLEMENT CONFERENCE


          All parties were present and represented by counsel.
          The case was:
[X]       Settled. The parties will file a motion seeking Preliminary Approval of the Settlement, and
          appointment of a Claims Administrator, within sixty (60) days.
[ ]       There was progress. A further phone conference has been scheduled for              unless the case is reported
          settled prior to that date.
[ ]       Further efforts to settle this case at this time are, in my judgment, unlikely to be productive. This case
          should be restored to your trial list.
[ ]       Suggested strategy to facilitate settlement:
                                                                                                                       .
                                                                                                                       .




      2/14/2022                                                                      /s/ Judith G. Dein
       DATE                                                                          U.S. Magistrate Judge
